Form osprtcon
                                    UNITED STATES BANKRUPTCY COURT
                                          Southern District of Alabama

In Re: Nova Security Group, Inc.
Debtor
                                                                  Case No.: 16−00370
                                                                  Chapter 11
NOVA SECURITY GROUP, INC.
     Plaintiff(s)
v.                                                                Adv. Proc. No. 17−00052

NOVA ELECTRIC IMMOBILIZATION DEVICES, PLC
     Defendant(s)
                                                                  Judge: HENRY A. CALLAWAY

                               ORDER SETTING SCHEDULING CONFERENCE

     Notice is hereby given that a scheduling conference in the above−styled adversary proceeding is set before the

undersigned bankruptcy judge on:

Date: 10/17/17

Time: 09:00 AM
Location: Courtroom Two, 201 St. Louis Street, Mobile, AL 36602

All parties or their attorneys must attend.

The parties should have their calendars at hand and be prepared to discuss the matters set out in Fed. R. Civ. P.

16(c)(2), including discovery, trial setting, alternative dispute resolution, and consent to the bankruptcy court's

entry of a final order. The parties are excused from preparing a discovery plan under Fed. R. Civ. P.26(f).

Unless otherwise ordered, the parties may not seek discovery from any source until after the pretrial conference,

and responses to any discovery propounded before then are not due until 30 days after the pretrial conference.


Dated: 9/12/17




       Case 17-00052         Doc 9      Filed 09/14/17 Entered 09/14/17 23:45:43                   Desc Imaged
                                        Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                               Southern District of Alabama
Nova Security Group, Inc.,
         Plaintiff                                                                                Adv. Proc. No. 17-00052-HAC
Nova Electric Immobilization Devices, PL,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 1128-1                  User: brooks                       Page 1 of 1                          Date Rcvd: Sep 12, 2017
                                      Form ID: osprtcon                  Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 14, 2017.
dft            +Nova Electric Immobilization Devices, PLC,   4481 Legendary Drive, Ste 201,
                 Destin, FL 32541-5381
pla            +Nova Security Group, Inc.,   P.O. Box 3755,   Gulf Shores, AL 36547-3755

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 14, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 12, 2017 at the address(es) listed below:
              Irvin Grodsky    on behalf of Plaintiff   Nova Security Group, Inc. igpc@irvingrodskypc.com
                                                                                            TOTAL: 1




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                                                Certificate of Notice Page 2 of 2
